                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff,

        v.                                         Case No. 23-MJ-00061-JAM (LMC)

 XAVIAR MICHAEL BABUDAR,

                                Defendant.

                  MOTION TO UNSEAL COMPLAINT AND AFFIDAVIT
                      IN SUPPORT OF CRIMINAL COMPLAINT

       The United States of America, by Teresa A. Moore, United States Attorney, and Patrick D.

Daly and Stephanie C. Bradshaw, Assistant United States Attorneys, all for the Western District

of Missouri, hereby moves the Court to unseal the criminal complaint and accompanying affidavit

in support of criminal complaint in the above-captioned matter for the following reasons:

       1.      On May 24, 2023, the Honorable Magistrate Judge Lajuana M. Counts, Western

District of Missouri, issued a Federal Judicial Complaint and accompanying arrest warrant for

Babudar for bank theft (in violation of 18 U.S.C. § 2113(c)) and interstate transportation of stolen

property (in violation of 18 U.S.C. § 2314) in this case.

       2.      The criminal complaint and accompanying affidavit in support of criminal

complaint were sealed as to defendant Babudar as he had absconded from his state custody pending

trial in Oklahoma, and was not yet aware of his pending criminal charges.

       3.      At this stage, the United States respectfully requests that the criminal complaint and

accompanying affidavit in support of criminal complaint be unsealed in order to avoid any

unnecessary delay of proceedings against the above-named defendant, who is already in custody.
       WHEREFORE, the United States respectfully requests an Order from this Honorable Court

to unseal the criminal complaint and accompanying affidavit in support of criminal complaint in

the above-captioned case.

                                                    Respectfully submitted,

                                                    TERESA A. MOORE
                                                    United States Attorney

                                           By       /s/ Patrick D. Daly

                                                    PATRICK D. DALY
                                                    Assistant United States Attorney

                                                    STEPHANIE C. BRADSHAW
                                                    Assistant United States Attorney

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on July 10,
2023, to the CM-ECF system of the United States District Court for the Western District of
Missouri for electronic delivery to all counsel of record.

                                                    /s/ Patrick D. Daly
                                                    Patrick D. Daly
                                                    Assistant United States Attorney




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